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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  BRIAN WHITAKER                       CASE NO.
                                       2:20−cv−10241−DSF−PLA
               Plaintiff(s),
        v.                              Order to Show Cause re
  SM FROZEN DESSERTS LLC                Dismissal for Lack of
                                        Prosecution
              Defendant(s).




        Default has been entered by the Clerk as to the remaining defendants. No
     motion for default judgment has been filed. Plaintiff is ordered to file a
     motion for default judgment on or before December 6, 2021. Failure to file a
     default judgment motion by that date may result in sanctions, including
     dismissal for failure to prosecute.

       IT IS SO ORDERED.

  Date: November 4, 2021                    /s/ Dale S. Fischer
                                           Dale S. Fischer
                                           United States District Judge
